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UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF TEXAS

SAN ANTONIO DIVISION

TAYLOR LOHMEYER LAW FIRM PLLC, §
8
Petitioner, §

§ Civil Action No.: SA-18-CV-1161-XR
v. §
§
UNITED STATES OF AMERICA, §
§
Respondent. §

NOTICE OF APPEAL
Taylor Lohmeyer Law Firm PLLC gives notice that it intends to appeal to the United
States Court of Appeals for the Fifth Circuit the District Court’s “Order” entered on May 15,
2019 (Document No. 15).
Respectfully submitted,

CHAMBERLAIN, HRDLICKA, WHITE,
WILLIAMS & AUGHTRY

By: __ /s/ Steven J. Knight
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CERTIFICATE OF SERVICE

I certify that this notice of appeal was filed in this matter via the Court’s CM/EDF system
on June 3, 2019, with electronic notice to the following counsel of record for the United States of

America.

Curtis Cutler Smith

Steven Woodliff .
United States Department of Justice
Tax Division

717 N. Harwood, Ste. 400

Dallas, Texas 75201

/s/ Steven J, Knight
STEVEN J. KNIGHT

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